                                                                                                                         2018-62173 / Court: 269                                                        9/11/2018 6:59 PM
                                                                                                                                                                                Chris Daniel - District Clerk Harris County
                                                                                                                                                                                                  Envelope No. 27438458
                                                                                                                                                                                                       By: Rhonda Momon
                                                                                                                                                                                                 Filed: 9/11/2018 6:59 PM

                                                                                                                   AIRPORT SYSTEM CAUSE NO.:

                                                                                                   JANICE KRAUSE                                                  IN THE DISTRICT COURT


                                                                                                                  Plaintiff,

                                                                                                   v.                                                                    JUDICIAL DISTRICT

                                                                                                   CITY OF HOUSTON, HOUSTON
                                                                                                   AIRPORT SYSTEM
                                                                                                                                                                   HARRIS COUNTY, TEXAS
                                                                                                                  Defendant.


                                                                                                                   PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION


                                                                                                 TO THE HONORABLE JUDGE OF SAID COURT:

                                                                                                         COMES NOW, Plaintiff JANICE KRAUSE ("Plaintiff') files this Original Petition
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657068-Page1of9




                                                                                                against Defendant CITY OF HOUSTON, HOUSTON AIRPORT SYSTEM ("Defendant" or

                                                                                                "HAS") and alleges as follows:

                                                                                                                               I.     DISCOVERY CONTROL PLAN

                                                                                                 1.      Plaintiff intends to conduct Discovery under Level Two, as described in Rule 190.3 of the

                                                                                                Texas Rules of Civil Procedure. However, Plaintiff reserves the right to move this Court to enter a

                                                                                                discovery control plan in accordance with Rule 190.4 of the Texas Rules of Civil Procedure.

                                                                                                                                    II. PARTIES AND SERVICE

                                                                                                 2.      Plaintiff JANICE KRAUSE is a citizen of the State of Texas, and resides in Montgomery

                                                                                                County, Texas.

                                                                                                 3.      Defendant CITY OF HOUSTON is a municipality of the State of Texas that regularly

                                                                                                conducts business in Houston, Harris County, Texas. The HOUSTON AIRPORT SYSTEM is a

                                                                                                department of the City of Houston. Defendant may be served with process by serving the City



                                                                                                 PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION                                                             1




                                                                                                                                               Exhibit D
                                                                                                Secretary at 900 Bagby. 4th Floor, Houston, Texas.

                                                                                                  4.      At all times relevant hereto, Defendant was acting through its agents, servants, and

                                                                                                employees, who were acting within the scope of their authority, course of employment, and under

                                                                                                the direct control of Defendant.

                                                                                                                              III. JURISDICTION AND VENUE

                                                                                                  5.      This Court has jurisdiction of this action, as this case arises under provisions within the

                                                                                                Americans With Disabilities Act of 1990, as amended ("ADA/ADAAA") 42 USC §§ 12102 et

                                                                                                seq.; and the Texas Commission on Human Rights Act ("TCHRA") Tex. Lab. Code § 21.001 et

                                                                                                seq. Damages are within the jurisdictional requirements of this Court and will continue to increase

                                                                                                as this case proceeds to trial. Moreover, venue is proper in Harris County, Texas, pursuant to the

                                                                                                Texas Civil Practice and Remedies Code § 15.002, as all or a substantial part of the events or
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657068-Page2of9




                                                                                                omissions giving rise to this claim occurred in this county.

                                                                                                                                   IV. NATURE OF THE ACTION

                                                                                                  6.      This is an action brought pursuant to the Americans with Disabilities Act of 1990,

                                                                                                ("ADA/ADAAA") 42 USC §§ 12102 et seq., and the Texas Commission on Human Rights Act

                                                                                                ("TCHRA"), as Defendant discriminated against Plaintiff and failed to accommodate her based on

                                                                                                her disabilities.

                                                                                                                                V. FACTUAL BACKGROUND

                                                                                                  7.      Ms. Krause started working for HAS on November 1, 1994. She has worked as a Parking

                                                                                                  Cashier and then a Senior Clerk. Currently, she is a Customer Service Clerk.

                                                                                                  8.      Ms. Krause is afflicted with the following disabilities: arthritis, lupus (muscles and

                                                                                                  joints), leukemia, colon cancer, and stroke-resulting conditions.




                                                                                                  PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION                                                       2




                                                                                                                                                Exhibit D
                                                                                                9.      Ms. Krause's employment issues began with her supervisor, Marilyn Ross, who failed to

                                                                                                take her disability restrictions into consideration and discriminated against her based on her

                                                                                                disabilities.

                                                                                                10.     On or about August 24, 2016, Ms. Krause revealed her medical disabilities to Ms. Ross.

                                                                                                Specifically, Ms. Krause explained to Ms. Ross that she physically could not do any heavy

                                                                                                lifting, to which Ms. Ross responded, "I know that." Thus, Ms. Ross acknowledged that Ms.

                                                                                                Krause was afflicted with the aforementioned disabilities.

                                                                                                11.     Notwithstanding Ms. Krause's disabilities, Ms. Ross told Ms. Krause that it should be her

                                                                                                own responsibility to be accommodated with her lifting duties. In sum, instead of

                                                                                                accommodating Ms. Krause, Ms. Ross stated that it was Ms. Krause's own responsibility to

                                                                                                ensure she received her accommodation by requesting help from her coworkers. Thus Ms.
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657068-Page3of9




                                                                                                Krause was in effect told to accommodate herself.

                                                                                                12.     Nevertheless, Ms. Ross forced Ms. Krause to serve as the same "required help" for other

                                                                                                employees who needed assistance—an accommodation denied to Ms. Krause.

                                                                                                13.     Moreover, Ms. Ross openly discussed Ms. Krause's medical disability in front of other

                                                                                                employees.

                                                                                                14.     On or about August 30, 2016, Ms. Ross complained to Ms. Krause that her own

                                                                                                perception of this disability situation was "totally, totally out of this world." Moreover, Ms. Ross

                                                                                                stated that she was refusing to accommodate Ms. Krause and forced Ms. Krause to archive or lift

                                                                                                items. For instance, Ms. Ross made Ms. Krause the primary archiver which required her to lift

                                                                                                boxes which weighed more than 20 lbs. This was against Ms. Krause's doctor's restriction not to

                                                                                                lift more than 20 lbs.




                                                                                                PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION                                                        3




                                                                                                                                              Exhibit D
                                                                                                15.    About September 1, 2016, Ms. Ross stated to Ms. Krause, "I'm gonna get you." Ms.

                                                                                                Krause took this interaction to be a verbal threat based on her disability and request for

                                                                                                accommodations. Ms. Ross told Ms. Krause's co-workers, Saly Thomas and Tracey Bush, that

                                                                                                Ms. Krause was, "using her disability as an excuse." Ms. Ross thus violated the ADA and

                                                                                                HIPAA by disclosing Ms. Krause's disability to an employee other than her supervisors.

                                                                                                16.    On September 8, 2016, Ms. Krause had a conversation with Assistant Director and HRBP

                                                                                                Manager Jocelyn Labove and raised her concerns about the discriminatory behavior from Ms.

                                                                                                Ross. Ms. Krause also submitted a complaint to the City of Houston Office of Inspector General

                                                                                                ("the OIG") about the discrimination and hostile work environment from Ms. Ross. HAS gave

                                                                                                Ms. Krause the option to be transferred to another department while the OIG conducted its

                                                                                                investigation, presumably for two or three months. Ms. Krause chose the Supply Chain
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657068-Page4of9




                                                                                                Management department with Devon Tiner as a temporary placement. HR never discussed with

                                                                                                Ms. Krause, and it was never understood, that this move would be permanent.

                                                                                                17.    On September 19, 2016, Ms. Krause was transferred to Supply Chain Management.

                                                                                                Susan Ackerson became her Manager. On October 6, 2016, Ms. Krause filed a Charge of

                                                                                                Discrimination with the EEOC.

                                                                                                18.    On December 9, 2016, Ms. Krause had a meeting with Ms. Ross, Jocelyn Labove,

                                                                                                Shanna Epps and Judy Taub. At the meeting, Ms. Krause accepted the plan for her to use a

                                                                                                weighing scale in order to make sure she did not lift anything heavier than 20 lbs. Ms. Krause

                                                                                                also mentioned that the special cordless mouse and keyboard that she was using had been taken

                                                                                                away. The special mouse and keyboard were an accommodation for Ms. Krause's hand

                                                                                                disability. The mouse and keyboard had been taken away and given to Ms. Thomas, under Ms.




                                                                                                PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION                                                  4




                                                                                                                                              Exhibit D
                                                                                                Ross's instructions. Ms. Thomas does not need a special mouse and keyboard. Ms. Ross ignored

                                                                                                Ms. Krause's complaint about the special mouse and keyboard being taken away and laughed.

                                                                                                19.    On January 31, 2017, the OIG notified Ms. Krause that after their investigation, they

                                                                                                found no reason to sustain Ms. Krause's complaint.

                                                                                                20.    On March 2, 2017, the Supply Chain Management Department staff was informed that

                                                                                                Justina Mann would become the Assistant Director. On April 5, 2017, Ms. Ackerson informed

                                                                                                Ms. Krause that she would be sitting at the front desk all day and that other employees would

                                                                                                have to relieve her in order for her to take her lunch and other breaks. Before this date, Ms.

                                                                                                Krause would rotate front desk duties with other employees. Ms. Krause asked Ms. Ackerson if

                                                                                                she could split the day with Administrative Aide Sally Yost. On April 6, 2017, Ms. Ackerson

                                                                                                told Ms. Krause that Ms. Mann had said no to her request to rotate with Ms. Yost. At that time
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657068-Page5of9




                                                                                                Ms. Krause also learned that he front desk would be her permanent area for work.

                                                                                                21.    At this position Ms. Krause's co-workers made it very difficult for Ms. Krause to take her

                                                                                                breaks. HAS also began to lock the handicapped bathroom, which Ms. Krause was using. Soon

                                                                                                after, Ms. Ackerson told Ms. Krause that effective April 10, 2017, her shift would change to 7:30

                                                                                                a.m. until 4:30 p.m.

                                                                                                22.    On April 7, 2017, Ms. Krause spoke with Ms. Ackerson about a meeting she had

                                                                                                scheduled for upstairs. Ms. Krause reminded Ms. Ackerson that she could not climb stairs. This

                                                                                                was never an issue before, as Ms. Ackerson was willing to accommodate her; however this time

                                                                                                Ms. Ackerson asked her what her condition was and then told Ms. Krause to bring her a doctor's

                                                                                                note. Ms. Krause sent her a doctor's note on April 10, 2017.

                                                                                                23.    On May 3, 2017, Ms. Krause was at the front desk and had to bend over to pick up

                                                                                                something she dropped. Ms. Mann was walking around the corner and commented, "I see your



                                                                                                PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION                                                     5




                                                                                                                                              Exhibit D
                                                                                                backside." Ms. Mann then went to her office and told Alisha Miles and they laughed loudly

                                                                                                about this rude comment within Ms. Krause's earshot.

                                                                                                24.    During this time period Ms. Krause had much difficulty when she needed relief to take

                                                                                                her breaks. This was unreasonable because Ms. Krause should not have had to keep calling to see

                                                                                                who would relieve her for her breaks. Furthermore, Ms. Ackerson would give Ms. Krause the

                                                                                                run around every time Ms. Krause requested vacation or time off.

                                                                                                25.    On September 26, 2017, Ms. Mann called the front desk. Since this was an internal call,

                                                                                                Ms. Krause answered by saying hello. Ms. Mann asked, "Is this any way to answer the phone??

                                                                                                Ms. Krause replied, "Yes." Ms. Mann said, "No, it's not." The next day, Ms. Krause

                                                                                                complained Chief HR Officer Harleen Hines Smith about the incident. Ms. Mann was harassing

                                                                                                Ms. Krause and causing a hostile work environment for her.
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657068-Page6of9




                                                                                                26.    On December 8, 2017, Ms. Krause requested a reasonable accommodation from HAS to

                                                                                                be transferred from her position as Customer Service Clerk to a similar position with equal pay.

                                                                                                The on-going stress at work was exacerbating her high blood pressure, which put her at risk of

                                                                                                having a stroke. HAS neither responded to the request nor engaged in the interactive process

                                                                                                required by the ADA.

                                                                                                27.    Ms. Krause was consistently asked to do work outside of her job duties; she was not

                                                                                                allowed to take breaks; she was transferred to a different position; her supervisors and coworkers

                                                                                                talked derisively about and to her, her confidential medical information was exposed to other

                                                                                                employees and she was not allowed reasonable accommodations.

                                                                                                28.   On June 13, 2018, Ms. Krause was issued a Notice of Right to Sue by the EEOC.

                                                                                                                                    VI. CAUSE OF ACTION

                                                                                                           DISCRIMINATION, FAILURE TO ACCOMMODATE AND
                                                                                                           INTERFERENCE UNDER THE ADA AND THE TCHRA


                                                                                                PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION                                                      6




                                                                                                                                              Exhibit D
                                                                                                 29.     The allegations contained in all paragraphs of this complaint are hereby incorporated by

                                                                                                 reference with the same force and effect as if set forth verbatim.

                                                                                                 30.     Defendant, by and through Defendant's agents, intentionally engaged in unlawful

                                                                                                 employment practices involving Plaintiff because of her disability. Accordingly, Plaintiff alleges

                                                                                                 that:


                                                                                                                 a.   Plaintiff has an actual disability (as stated in detail above)

                                                                                                                b. Plaintiff was qualified for her position,

                                                                                                                 c. Defendant treated Plaintiff differently than others similarly situated because of

                                                                                                                      Plaintiff's Disability in violation of the ADA and the TCHRA.


                                                                                                 31.     Plaintiff, a qualified individual with a disability, also alleges that Defendant was aware of
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657068-Page7of9




                                                                                                her disability and its consequential limitations and failed to make reasonable accommodations for

                                                                                                such known limitations in violation of the ADA and TCHRA. Plaintiff notified Defendant of her

                                                                                                disability personally, which means Defendant had knowledge of Plaintiff's disability.

                                                                                                 32. Defendant additionally did not engage in the interactive process with Plaintiff and failed to

                                                                                                reasonably accommodate her.

                                                                                                                                          VII. DAMAGES

                                                                                                  33. As a result of Defendant's actions and or omissions described above, Plaintiff sustained

                                                                                                the following damages:

                                                                                                         a.     Actual damages, including (but not limited to) economic damages (such as past
                                                                                                                pecuniary losses and future pecuniary losses) and mental anguish damages
                                                                                                                (pursuant to Texas Labor Code § 451.002(a));

                                                                                                         b.      Exemplary damages (pursuant to Texas Labor Code § 451.002(a));

                                                                                                         c.     Reinstatement to Plaintiff's former employment position with Defendant
                                                                                                                (pursuant to Texas Labor Code § 451.002(b));

                                                                                                 PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION                                                         7




                                                                                                                                               Exhibit D
                                                                                                         d.      Injunctive relief to restrain violations of the Texas Labor Code § 451.001
                                                                                                                 (pursuant to Texas Labor Code § 451.003);

                                                                                                         e.      Attorneys' fees;

                                                                                                         f.      Costs incurred as a result of this lawsuit;

                                                                                                         g.      Pre-judgment interest;

                                                                                                         h.      Post-judgment interest; and

                                                                                                         i.      All other relief to which Plaintiff is entitled.

                                                                                                 34.    Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff hereby seeks

                                                                                                monetary relief over $200,000.00, but not more than $1,000,000.00, as well as non-monetary

                                                                                                relief. Among the relief Plaintiff is seeking includes (but is not limited to) attorneys' fees, costs,

                                                                                                pre-judgment interest, and post-judgment. Plaintiff also seeks a demand for judgment for all the
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657068-Page8of9




                                                                                                other relief to which Plaintiff deems herself entitled. The damages being sought by Plaintiff are

                                                                                                within the jurisdictional limits of the court. Plaintiff further requests that the non-expedited rules

                                                                                                apply in this case.

                                                                                                                                          VIII. JURY DEMAND

                                                                                                 35.     Plaintiff demands a jury trial and tenders the appropriate fee with this petition.

                                                                                                                                IX. REQUEST FOR DISCLOSURE

                                                                                                 36.    Under Rule 194 of the Texas Rule of Civil Procedure, Plaintiff requests that Defendant

                                                                                                 disclose within fifty (50) days of the service of this request, the information or material described

                                                                                                 in Texas Rule of Civil Procedure 194.2.

                                                                                                                                             X. PRAYER

                                                                                                          WHEREFORE, PREMISES CONSIDERED, For the reasons set forth above,

                                                                                                Plaintiff respectfully prays that Defendant be cited to appear and answer herein, and that upon a


                                                                                                 PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION                                                         8




                                                                                                                                               Exhibit D
                                                                                                final hearing of the cause, judgment be entered for Plaintiff against Defendant for all damages in

                                                                                                an amount within the jurisdictional limits of the Court, together with interest as allowed by law,

                                                                                                attorneys' fees, court costs, and such other and further relief to which Plaintiff may be justly

                                                                                                entitled at law or in equity.

                                                                                                                                           Respectfully Submitted,




                                                                                                                                                Alfonso Kennard, Jr.
                                                                                                                                                Texas Bar No.: 24036888
                                                                                                                                                Southern District No: 713316
                                                                                                                                                2603 Augusta Drive, Suite 1450
                                                                                                                                                Houston, TX 77057
                                                                                                                                                Telephone No.: (713) 742-0900
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657068-Page9of9




                                                                                                                                                Facsimile No.: (713) 742-0951
                                                                                                                                                Alfonso.Keflflard ii'lkennardlaw.coin

                                                                                                                                                ATTORNEY-IN-CHARGE FOR PLAINTIFF




                                                                                                 PLAINTIFF JANICE KRAUSE'S ORIGINAL PETITION                                                     9




                                                                                                                                               Exhibit D
     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this October 22, 2018


     Certified Document Number:        81657068 Total Pages: 9




    U'A4 (0.az
     Chris Daniel, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
                                             Exhibit D
                                                                                                                                                    2018-62173 / Court: 269                                     9/11/2018 6:59:12 PM
                                                                                                                                                                                                                Chris Daniel - District Clerk
                                                                                                                                                                                                                Harris County
                                                                                                                                                            CIVIL CASE             INFORMATION SHEET
                                                                                                                                                                                                                Envelope No: 27438458
                                                                                                                                                                                                                B ;,,MOMON, RHONDA M
                                                                                                        CAUSE NUMBER (F9 CLERK USE On*                                                      COURT (FOR CERN LSE
                                                                                                                                                                                                                   ed:-91-144201-8-65-942-PNI

                                                                                                                                       STYLED Janice Krause vs. City of Houston, Houston Airport System
                                                                                                                                           Smirks     Arc 'a-*ureace              re Mary AF151.3artee, En tEaz MetErz arlz Estaie Geuegt .5ack.coa)

                                                                                                A civil case information sheet mast be completed and submitted when an 0-4iFatt pOitim or application is flied idc initiam a new civil, family law, probate, or mensal
                                                                                                health cast or Vrildn a post-judgment petition for modification or motion for enforcement is filed in a family la case. The information should be the best ticadable tit
                                                                                                the time of fiiina.
                                                                                                   Contaes i ixifor mat a or p                                                            ardies da caw:                       :?orsqo or cot* eninipleting Ater i5: -1
                                                                                                                                                                                                                                ritgl:rifty fee Plaintiff'Petitioner
                                                                                                parsec:                                                                        PlaintifROPetitionerts):                      OPro Se Plaintiff:Petitioner
                                                                                                Alfonso Kennard, Jr.                    filings.kennard(4).kema                                                              OTitle 1 11-0 Agency
                                                                                                                                                                               JANICE KRAUSE                                    0ther.
                                                                                                                                        rti 1 aw. corn
                                                                                                Address
                                                                                                                                                                                                                             Additional Parties in Child Support C.
                                                                                                2603 Augusta Dr., Ste                   Telephonei
                                                                                                1450                                    (713) 742-0900                          Defendends)fResporident(0                    Cusiodial Parent:-

                                                                                                cityisurizip:                                                                        CITY OF HOUSTON,                                   Non-Custodial Parent.:
                                                                                                Houston, Texas 77057                      (713) 742-0951                             HOUSTON AIRPORT                                    Presumed FlAhCr
                                                                                                Stn4kWC:                                  State Bar No:                              SYSTEM
                                                                                                 /s/Alfonso Kenanrd,Jr.                   24036888

                                                                                                                                                                                               .,k:os wIt
                                                                                                                           entity dh    El8t               Bit


                                                                                                                                                                                                                                                        Pustittilgrirtent Anions
                                                                                                           Contract                     In' can,. or OMR e                       Read Pro                         Marcia s Reisintirtabi',                  'etatt-Tisie
                                                                                                                                     AssoultiBartery                         Eminent Domani                        Annuiment                             Etilbrcerrient

                                                                                                  E  CortsonietMITA
                                                                                                     Deka/Contract
                                                                                                                                     Consiniction
                                                                                                                                  ODefamation
                                                                                                                                                                             Condemnation
                                                                                                                                                                          OPartit ion
                                                                                                                                                                                                                 ODeolare Marriage Void
                                                                                                                                                                                                                 Divorce
                                                                                                                                                                                                                                                         Modification—Cusiody
                                                                                                                                                                                                                                                       OMotiification---Other
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657069-Page1of2




                                                                                                   OFtataliWiltimptcontatiott      f akract                               °Quiet Tik                               OWiEb Chitthen                               Tide IlLn
                                                                                                   pettier Debt/Contract:           Ed Accounting                         Eltg'espass .wiry Tik                    ONe Children                         d5,eforccinentfislodificanon
                                                                                                                                                                          DOthrE Pr£,Tr`eny.                                                            Paternity
                                                                                                Foreclomee                                                                                                                                              Reciprocal5 (UIFSA)
                                                                                                      finite Eqady—Expedited            ©Other Professional                                                                                             Support Order
                                                                                                     Other Foreclosure
                                                                                                Orranchise                        ElVlotor 'Vehicle Accident                     P.Asted sssCrimainnS
                                                                                                                                                                                                                       oa.ar §.;11roii Law              Pnrent-Child Relotino.§ni
                                                                                                pinaiironec                       OPremises
                                                                                                OLitridiortitTentard              PradUa Linniiirjr                       kje.iipunction                          ri Enforce Foreign                       doptionlAtioption with
                                                                                                                                                                             lodgment Nisi                            ..indgmerit                        Temtination
                                                                                                0Norr-Compentiori                   DAshestosiSilica
                                                                                                                                                                          IDNon-Disclosure                        Ol-luheas Corpus                     EIChild Protection
                                                                                                OParinership                        001iiiir Product Liability
                                                                                                                                                                          Es:Nei:tare/Fort-en tire                Oblarrie d: Manage                     Chiidi Sopport
                                                                                                   Other Contract:                     List Product:
                                                                                                                                                                             WriE of Habeas Corpus                     Protective Order                C3Cirstody or Visitation
                                                                                                                                        0iher injury or Damage:              Pre-indictment                       ORemoval of Disabilities               Gestational Patenting
                                                                                                                                                                                     ..........                       of Minority                        Grandparent Access
                                                                                                                                                                                                                  00ther:                                Patanity:Parentage
                                                                                                                                                                  Other.CiVil                                                                          OVermination of Parenial
                                                                                                PDiscrimination                           Administrative Appeal             Lawyer Discipline                                                             Rights
                                                                                                  Retaliation                          ijAntartistfUrifitir                 Perpetuate Testimony                                                                Paresit-Child:
                                                                                                OTthmination                              Competition                     0SocoriticstStoel
                                                                                                  Workeis' Compensation
                                                                                                DOther Employment
                                                                                                                                          Codc violations
                                                                                                                                       OForeign Judgment
                                                                                                                                       aintellectual Property
                                                                                                                                                                          B rudions interference
                                                                                                                                                                            Other.

                                                                                                              Tax                                                                            Probate A Mental lieedgh
                                                                                                                                       Probege.ql'ilhinie3ole              03k                            di.Tardinnship—Aditilt
                                                                                                  .rat Delinquency                       ODepcndent Administration                                     aluardiareihip—Minor
                                                                                                 Daher Tax                               Dindepetident Administration                                  OMendel Health
                                                                                                                                           0ther Estate Proceedings                                    Daher.

                                                                                                3. dastheatsi > race:lore or rernedc if a icabit      seied maters
                                                                                                     Appeal from Municipal or justice Court                 Declaratory Judgment                                            L./Prejudgment Rcrrictiy
                                                                                                 OArbitration-reiated                                       Garnishment                                                     OProteciive Order
                                                                                                     Aottchroom                                           Diaterpileader                                                    OReceiver
                                                                                                 ORM Rd9iittW                                             OLicense                                                          ElSsqw5Mvi.ion
                                                                                                 OCertiorati                                              Obiztradamos                                                      OTemporary Restraining Orderinjurietion
                                                                                                    Chas Action                                                    utt iTiCE13                                              OTeimocer
                                                                                                4. Indicate dating-Jana& 4r1s) not lera' r lr s s fairatily    ms-4;




                                                                                                                                                                                Exhibit D
                                                                                                  Less than $100,000, including damps of any kind, pcnaltics„ cesit5, o:pcnsys, pre-ji3figmen tniems$, and isittriaty fcas
                                                                                                OLeas than $               nonlannaiiry
                                                                                                  CNCr SI 00, 000 NEE MI MOM Shan $200,000
                                                                                                Wawar $2043,0tba but EllfA PICITC than $i,000,000
                                                                                                00vcr Si.,M0,1100
                                                                                                                                                                                                                             Rcv 213
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657069-Page2of2




                                                                                                                                                                          Exhibit D
     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this October 22, 2018


     Certified Document Number:        81657069 Total Pages: 2




    U'A4 (0.az
     Chris Daniel, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
                                             Exhibit D
                                                                                                                                           2018-62173 / Court: 269                                                9/11/2018 6:59:12 PM
                                                                                                                                                                                                                  Chris Daniel - District Clerk
                                                                                                                                                                                                                  Harris County
                                                                                                                                                                                                                  Envelope No: 27438458
                                                                                                                                                       CIVIL PROCESS REQUEST                                      By: MOMON, RHONDA M
                                                                                                                                                                                                                  Filed: 9/11/2018 6:59:12 PM
                                                                                                                              FOR EACH PARTY SERVED YOU MUST FURNISH ONE (I) COPY OF THE PLEADING
                                                                                                                             FOR WRITS FURNISH. TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED

                                                                                                CASE NUMBER:                                                          CURRENT COURT
                                                                                                                                                                               Criginal Petition
                                                                                                TYPE OF INSTRUMENT TO BE SERVED(See Rrverst Far Types):

                                                                                                FILE DATE OF MOTION:                                                       Se sealber I 2018
                                                                                                                                                                             onth/                     Year
                                                                                                SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Sea se
                                                                                                L         NAME:     CITY OF HOUSTON, HOUSTON AIRPORT SYSTEM
                                                                                                          ADDRESS:
                                                                                                          AGENT, 0- applicable):      City Secretary at 9.; Bagby, 4ih no +r, Houston, Teas.
                                                                                                                                                                                         Citt
                                                                                                                                                                                           a Ion
                                                                                                TYPE OF SERV10E/1ROCESS TO BE ISSUED (see m$,enefiretsperifie Iv*
                                                                                                          SERVICE BY (cheek one);
                                                                                                             O ATTORNEY PICK-UP                         0 CONSTABLE
                                                                                                             alLIVIL PROCESS SERVER Authorized Parson to Pick-up:: Kim Tindall Msociates Phone 210-641-3163
                                                                                                             O MAIL                                     El CERTIFIED MAIL
                                                                                                             O PUBLICATION:
                                                                                                                   Type of Public:adm 0 COURTHOUSE DOOR, o
                                                                                                                                       0 NEWSPAPERR, OF YOUR CHOICE:
                                                                                                             O OTHER, ex,piain

                                                                                                ***&*****************M***********************ez**0 4                                         $ 44 0(,M 4,,P************ 44,4,4 * 4***********
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81657070-Page1of1




                                                                                                % ,21v$ ,.45




                                                                                                          NAME                                                                    --
                                                                                                          ADDRESS:
                                                                                                          AGENT, (if p,alk-abi'e):,
                                                                                                TYPE (W SERVICE/PROCESS TO BE ISSUED                              far sisecific gype):

                                                                                                          SERVICE BY (aheth awe):
                                                                                                             O ATTORNEY PICK-UP                                       O CONSTABLE
                                                                                                               O    CIVIL PROCESS SERVER - Authorized Person to Pick-tip; ,,,,,,,,;;,,,,«,,,, ,                       Phone.:

                                                                                                               O    MAIL                                               O CERTIFIED MAIL
                                                                                                               O    PUBLICATION:
                                                                                                                     Type of Publicanon: 0 COURTHOUSE DOOR, or
                                                                                                                                          0 NEWSPAPER OF YOUR CHOICE:
                                                                                                               O    MICR, explain


                                                                                                ATTORNEY (OR ATTORNEYS AGENT) REQUESTING SERVICE:
                                                                                                                 Alfonso Kennard,ar.                                                                      240368:i8
                                                                                                NAME:                                                                          TEXAS BAR NO.IID NO,
                                                                                                                                                Drive, Suite 1450 Houston, Texas 77057
                                                                                                MAILING ADDRESS: :-46°.3
                                                                                                                                               742-0900                                                              742-0551
                                                                                                PHONE NUMBER: 713                                                                    FAX NUMBER: 713
                                                                                                                arca code                             prone gumiw                                      3M3 code                 nocAc
                                                                                                                                                      cora
                                                                                                 EMAIL ADDkESS: ilingsekennard



                                                                                                                                                                       Pa.: I of 2




                                                                                                                                                                   Exhibit D
     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this October 22, 2018


     Certified Document Number:        81657070 Total Pages: 1




    U'A4 (0.az
     Chris Daniel, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
                                             Exhibit D
                                                                                                                                CHRIS DANIEL
                                                                                                                               HARRIS COUNTY DISTRICT CLERK




                                                                                                                            Civil Process Pick-Up Form
                                                                                                                    CAUSE NUMBER:          901F — 217 3
                                                                                                ATY                                    CIV                    COURT           zogrt)
                                                                                                                      REQUESTING ATTORNEY/FIRM NOTIFICATION

                                                                                                   *ATTORNEY:  Kinnard Aiforkro
                                                                                                   *CIVIL PROCESS SERVER: iGniTimdaii ft 4-ssioat-e1/4.r

                                                                                                   *PH:     M0-6041-lug
                                                                                                   *PERSON NOTIFIED SVC READY: rifie-eh%-

                                                                                                   * NOTIFIED BY:
                                                                                                                     Shirley Bates
                                                                                                   DATE: 9-40"01      0 fr
                                                                                                Type of Service Document:                          Tracking Number   7453gq67-1
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:81940383-Page1of1




                                                                                                Type of Service Document:                          Tracking Number
                                                                                                Type of Service Document:                          Tracking Number
                                                                                                Type of Service Document:                          Tracking Number
                                                                                                Type of Service Document:                          Tracking Number
                                                                                                Type of Service Document:                          Tracking Number
                                                                                                Type of Service Document:                          Tracking Number

                                                                                                Process papers prepared by:     Rhonda Memon
                                                                                                Date: (3gpf•                 2018       30 days waiting-      62          -2018


                                                                                                *Process papers released to:

                                                                                                 G19 61/ G7/
                                                                                                *(CONTACT NUMBER)

                                                                                                *Process papers released by:           Nswl
                                                                                                                                        (PRINT NAME)

                                                                                                                                            (SIGNATURE)
                                                                                                * Date:                7       ,2018     Time:   qc
                                                                                                                                                 a            AM   /I'M



                                                                                                                                                                          Revised 12-15-2014



                                                                                                                                       Exhibit D
     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this October 22, 2018


     Certified Document Number:        81940383 Total Pages: 1




    U'A4 (0.az
     Chris Daniel, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
                                             Exhibit D
                                                                                                                                                                                                                  10/15/2018 10:42 AM
                                                                                                                                                                                             Chris Daniel - District Clerk Harris County
                                                                                                                                                                                                               Envelope No. 28273291
                                                                                                                                                CAUSE NO. 201862173
                                                                                                                                                                                                                      By: Justina Lemon
                                                                                                                                                                                                           Filed: 10/15/2018 10:42 AM
                                                                                                                                               'RECEIPT NO.                      0.00         CIV
                                                                                                                                                       **********                         TR # 73538954

                                                                                                                                                                               In The   269th
                                                                                                PLAINTIFF: KRAUSE, JANICE                                                      Judicial District Court
                                                                                                        vs.                                                                    of Harris County, Texas
                                                                                                DEFENDANT: CITY OF HOUSTON HOUSTON AIRPORT SYSTEM                              269TH DISTRICT COURT
                                                                                                                                                                               Houston, TX
                                                                                                                                                     CITATION
                                                                                                THE STATE OF TEXAS
                                                                                                County of Harris



                                                                                                TO; CITY OF HOUSTON HOUSTON AIRPORT SYSTEM
                                                                                                    MAY BE SERVED BY SERVING THE CITY SECRETARY
                                                                                                    900 BAGBY 4TH FLOOR HOUSTON TX
                                                                                                    Attached is a copy of PLAINTIFF'S ORIGINAL PETITION

                                                                                                This instrument was filed on the 11th day of September, 2018, in the above cited cause number
                                                                                                and court. The instrument attached describes the claim against you.

                                                                                                     YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
                                                                                                written answer with the District Clerk who issued this citation by 10:00 a.m.on the Monday
                                                                                                next following the expiration of 20 days after you were served this citation and petition,
                                                                                                a default judgment may be taken against you.
                                                                                                 TO OFFICER SERVING:
                                                                                                       This citation was issued on 21st day of September, .2018, under my hand and
                                                                                                 seal of said Court,

                                                                                                                                         Aco!1464"
                                                                                                 Issued at request of:                                \C0( CHRIS DANIEL, District Clerk
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:82146343-Page1of2




                                                                                                                                         c)                  Harris County, Texas
                                                                                                 KENNARD, ALFONSO JR.
                                                                                                 2603 AUGUSTA DRIVE SUITE 1450      (                 i-r1 201 Caroline, Houston, Texas 77002
                                                                                                                                         cc.                 (P.O. Box 4651, Houston, Texas 77210)—
                                                                                                 HOUSTON, TX 77057
                                                                                                 Tel: (713) 742-0900                     \70 6          Generated By: MOMON, RHONDA HWP//11042927
                                                                                                 Bar No.: 24036888

                                                                                                                                     OFFICER/AUTHORIZED PERSON RETURN

                                                                                                 Came to hand at          o'clock         .M., on the             day of

                                                                                                 Executed at (address)                                                                                   in

                                                                                                                             County at             o'clock       .M., on the        day of

                                                                                                        , by delivering to                                                       defendant, in person, a

                                                                                                 true copy of this Citation together with the accompanying                     copy(ies) of the Petition

                                                                                                 attached thereto and I endorsed on said copy of the Citation the date of delivery.
                                                                                                 To certify which I affix my hand,officially this       day of


                                                                                                 FEE: $1   OS
                                                                                                                                                                         of                  County, Texas


                                                                                                                                                             By
                                                                                                                Affiant                                                          Deputy

                                                                                                 On this day,                                            , known to me to be the person whose
                                                                                                 signature appears on the foregoing return, personally appeared. After being by me duly sworn,
                                                                                                 he/she stated that this citation was executed by him/her in the exact manner recited on the
                                                                                                 return.

                                                                                                 SWORN TO AND SUBSCRIBED BEFORE ME, on this                     day of


                                                                                                                                                                                 Notary Public




                                                                                                 N.INT.CITR.£                                      *73538954*



                                                                                                                                                   Exhibit D
                                                                                                                                                              AFFIDAVIT OF SERVICE

                                                                                                      State of Texas                                                   County of Harris                                             269th Judicial District Court



                                                                                                                                                                                                                              IIIIIYBI111IIIIIIIIIIIIIIII
                                                                                                      Case Number: 2018-62173

                                                                                                      Plaintiff:
                                                                                                      Janice Krause
                                                                                                      vs.
                                                                                                      Defendant:
                                                                                                      City of Houston, Houston Airport System

                                                                                                      For:
                                                                                                      Alfonso Kennard, Jr. - NEW
                                                                                                      Kennard Miller Hemandez, P.C.
                                                                                                      2603 Augusta Drive
                                                                                                      14th Floor
                                                                                                      Houston, TX 77057

                                                                                                      Received by Kim Tindall & Associates Inc. to be served on Houston Airport System by serving the City Secretary, 900 Bagby, 4th
                                                                                                      Floor, Houston, Harris County, TX 77002.

                                                                                                      I, Gary Hodges, being duly sworn, depose and say that on the 27th day of September, 2018 at 4:18 pm, I:

                                                                                                      EXECUTED by delivering to, Houston Airport System, a true copy of the Citation and Plaintiffs Original Petition with the date of
                                                                                                      service endorsed thereon by me, to: Carrie Roberts , Admin Assistant at the address of: 900 Baabv. 4th Floor, Houston. Harris
                                                                                                      County, TX 77002, who is authorized to accept service for Houston Airport System.

                                                                                                      Description of Person Served: Age: 50s, Sex: F, Race/Skin Color. Black, Height: 5'4", Weight: 160, Hair: Black, Glasses: Y

                                                                                                      I am over eighteen, not a party to nor interested in the outcome of the above numbered suit and that I am certified to serve civil
                                                                                                      process. I have personal knowledge of the facts set forth in the foregoing affidavit and declare that the statements therein contained
ForOfficialGovernmentalUseOnly-DoNotDisseminatetothePublic:82146343-Page2of2




                                                                                                      are true and correct. I am familiar with the Rules of Civil Procedure. I have never been convicted of a Felony or Misdemeanor involving
                                                                                                      Moral Turpitude.




                                                                                                      NOTARY PUBLIC IN D Fgfg,
                                                                                                      THE STATE OF                                                                                     Gary Ho es
                                                                                                                                                                                                       PSC-10081 Exp: 12/31/2018
                                                                                                      Subsfiezed and Swoptio=ne on
                                                                                                      the P.' day of t..4                                                                              Kim Tindall & Associates Inc.
                                                                                                      by the affiant who ersonally known to me.                                                        16414 San Pedro Suite 900
                                                                                                                                                                                                       San Antonio, TX 78232
                                                                                                          C -)-                                                                                        (210) 697-3400
                                                                                                      NOTARY PU
                                                                                                                                                                                                       Our Job Serial Number: KTA-2018001858
                                                                                                            DANIELLE SOVVELL
                                                                                                                  Public, State of 'Texas
                                                                                                %.:1411" Voitifii                            Copyright 0 'V 992-2018 Database Services. tea - Process Servers Toolbox V7.2h
                                                                                                                   EXpltes 0-21-2018
                                                                                                     44
                                                                                                tree Neottify 128420145




                                                                                                                                                                         Exhibit D
     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this October 22, 2018


     Certified Document Number:        82146343 Total Pages: 2




    U'A4 (0.az
     Chris Daniel, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
                                             Exhibit D
